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UN|TED STATES DlSTR|CT COURT
WESTERN D|STR|CT OF TENNESSEE
N|EMPH|S DIV|S|ON

 

 

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UN|TED STATES OF AN|ER|CA ¢]~ i_, -7,4 ~J-i;-M_Li,;}
i;;; , i fi“r C.

_V- 2:02CR20484_02_B ‘v'v'.D ""i“-` ii\i, i.iE!‘./¢PH|S

RODNEY DAV|S
Howard lV|anis. Retained
Defense Attorney
80 Nlonroe Avenue, #G-1
N|emphis, TN 38103

 

JUDGN|ENT IN A CR|N||NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the Superseding indictment on January 11,
2005. Accordingiy, the court has adjudicated that the defendant is guilty of the following
offense:

Date Count
Titie a section MLL§_LMM Ottense i_\i_uM(_sj
CL¢lu_d_e_d
21 U.S.C. § 846 Conspiracy To Possess With intent To 09/26/2002 1

Distribute Contro||ed Substance

The defendant is sentenced as provided in the following pages of this judgment The
Sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the |Vlandatory
Victims Fiestitution Act of 1996

|T IS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitutionl costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 4/30/1976 Apri| 28, 2005
Deft’s U.S. |V|arsha| No.: 18984-076 ms

document entered on

the dockafsie\ t .i
'U'e 55 and/m 32ib) latch on iii-m :QC{>HP!V '“`F

.-_-1_

with

  

Defendant’s i\/iaiiing Address:
2296 Scaper Street
N|emphis, TN 38114

 

J. DAN!EEBREEN
NiTED sTATEs DisTaicT JUDG.E
iviay 3 , 2005

vig;`

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Case No: 2:O2CH20484~02-B Defendant Name: Rodney DAV|S Page 2 of 4
|MPR|SON|VIENT
The defendant is hereby committed to the custody of the United States Bureau of

Prisons to be imprisoned for a term of 12 Nionths and 1 Day. Defendant shall not be
housed in a facility where Torrick Ly|es and/or Mario Co|bert are housed.

The defendant shall surrender for service of sentence at the institution designated
by the Bureau of Prisons as notified by the United States Marsha|.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgmentl
UN|TED STATES MARSHAL
By:

 

Deputy U.S. lV|arsha|

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Case No: 2:O2CR20484~O2-B Defendant Narne: Rodney DAViS Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, am munition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shail submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicia| district without the permission of the court or probation officer,l

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall Work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
empioyment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are iiiega|iy sold, used,
distributed, or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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Case No: 2:02CR20484-02-B Defendant Name: Fiodney DAV|S Page 4 of 4

10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

12. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal fvionetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

1) Participate in substance abuse testing and treatment programs as directed by the
Probation Officer.

2) Seek and maintain full-time employment.

3) Cooperate with DNA collection as directed by the Probation Officer.

CR|NHNAL NIONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgmentl pursuant to 18 U.S.C. §
3612(f). A|l of the payment options in the Schedu|e of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Totai Fine Totai Restitution
$100.00

The Special Assessment shai| be due immediately

FlNE
No fine imposed

REST|TUTION
No Ftestitution was ordered

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 140 in
case 2:02-CR-20484 Was distributed by faX, mail, or direct printing on
May 4, 2005 to the parties listed.

 

Howard Brett Manis
BOROD & KRAMER
80 Monroe Ave.

Ste. G-l

Memphis7 TN 38103

Jennifer Lavvrence Webber
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

